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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

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                                                 ...........................................
VIRGINIA L. GIUFFRE,

        Plaintiff,
v.                                                                                             15-cv-07433-RWS
GHISLAINE MAXWELL,

        Defendant.


--------------------------------------------------X

                       Declaration of Laura A. Menninger in Support of
                         Defendant’s Response to Motion to Compel

        I, Laura A. Menninger, declare as follows:

         1. I am an attorney at law duly licensed in the State of New York and admitted to

practice in the United States District Court for the Southern District of New York. I am a

member of the law firm Haddon, Morgan & Foreman, P.C., counsel of record for Defendant

Ghislaine Maxwell in this action. I respectfully submit this Declaration in support of

Ms. Maxwell’s Response to Plaintiff’s Motion to Compel.

         2. As counsel for Ms. Maxwell, I and other attorneys of my law firm have an attorney-

client relationship with Ms. Maxwell and have created attorney work product as part of our

representation of her.

         3. Since no later than April 2015, Ms. Maxwell has had a joint defense agreement with

Jeffrey Epstein. The joint defense agreement was entered into in anticipation of litigation.
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         9. Attached as Exhibit C is a true and correct copy of the article, “Alleged ‘sex slave’ of

Jeffrey Epstein, Prince Andrew accused 2 men of rape in 1998, but was found not credible”, New

York Daily News, Feb. 23, 2015.

        I declare under penalty of perjury that the foregoing is true and correct.

        Executed on August 19, 2016.

                                                  s/ Laura A. Menninger
                                                  Laura A. Menninger




                                    CERTIFICATE OF SERVICE

I certify that on August 19, 2016, I electronically served this Declaration of Laura A. Menninger
in Support of Defendant’s Response to Motion To Compel Production Of Documents via ECF on
the following:

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                                                    /s/ Nicole Simmons
                                                    Nicole Simmons




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